                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 THE IDAHO REPUBLICAN PARTY, et al.,                       Case No. 1:08-cv-00165-BLW
                         Plaintiffs,

 vs.

 BEN YSURSA, in his Official Capacity as
 Secretary of State of the State of Idaho,

                         Defendants.

                         MEMORANDUM OF LAW IN SUPPORT
                        OF DEFENDANT-INTERVENORS’ MOTION
                              FOR SUMMARY JUDGMENT

                                        INTRODUCTION

       This case is about the Idaho Republican Party’s (the “IRP”) demand for a court-ordered,

taxpayer-financed advantage from the State of Idaho (“Idaho” or the “State”) in the form of

forced partisan registration. The Court should reject the IRP’s complaint as the IRP is entitled

to no such thing.

       Wash. State Grange v. Wash. State Republican Party, 128 S.Ct. 1184 (2008),

established without question that the State is not obligated to offer special rights or privileges to

political parties. The State is within its authority to run its primaries in a fully non-partisan

manner. Idaho has not so far chosen to eliminate political parties from the ballot. Rather, the

State offers numerous special rights and privileges to political parties far beyond those available

to independent voters or candidates. Notwithstanding the State’s largesse, the IRP complains

that the advantages it receives under Idaho law are not enough – that it is not enough that the

state offers the party automatic ballot access, a taxpayer-funded primary election, identification




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of party candidates on the general election ballot, rights to recommend successors to partisan

offices, and even a mechanism to donate funds to the party on one’s tax return.

        Indeed, the Republican Party wants more. The party argues that it has a constitutional

right to require the State to invade voters’ privacy and taxpayers’ pocketbooks and impose

partisan registration on the State and its citizens. Fortunately, the Constitution requires no such

thing, and this Court can rightly tell the Idaho Republican Party to take its complaints to the

legislature, where they will be rejected, if history is any guide.

                                   THE FACTUAL BACKGROUND

        Idaho politics is well-known for its “independent streak.” Although the Republican

Party currently dominates, Idaho elected Democrat Cecil Andrus its Governor and Democrat

Frank Church its Senator four times each. Idaho also gave independent Ross Perot some of his

highest vote percentages in the nation in the 19921 and 19962 elections. Currently,

independents comprise 28 percent of the vote in Idaho, constituting the second-largest voting

bloc in the state behind Republicans.3

        Idaho’s ballot access laws reflect the influence of independent voters. Requirements for

independent candidates to gain ballot access are not onerous, and generally could be met by

major party candidates without difficulty. Similarly, the barriers for a political party to gain

ballot access are not high. Idaho is one of twenty states that do not require partisan registration

and that allow registered voters to participate in the party primary of their choice.4

        At the same time, Idaho law offers numerous privileges to political parties. Political

parties have easy access to the ballot, subject only to de minimis criteria such as placing at least

1
  U.S. Election Atlas, http://www.uselectionatlas.org.
2
  Id.
3
  19th Annual Idaho Public Policy Survey,” College of Social Sciences and Public Affairs, Boise State University,
http://ppa.boisestate.edu/ssrc/archive/annualpolicysurvey.pdf, p. 24.
4
  See paragraph 13 and Exhibit A to Affidavit of Jacqueline Salit submitted herewith.

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three state-wide candidates on the ballot in the prior general election or receiving at least three

percent of the vote in the last governor’s election. I.C. § 34-501(1)(a) & (b). Nominees for

qualified parties receive automatic ballot access in the general election, as well as party

identification on the general election ballot. I.C. § 34-906. In Idaho, an “R” next to a

candidate’s name on the ballot has often guaranteed a general election victory. Political party

committees who organize according to the statutory criteria have the right to nominate

successors to certain partisan offices if the office-holder does not complete his or her term. I.C.

§§ 59-904A (legislative offices); 59-906 (county offices). And qualified political parties even

receive a check-box on Idaho’s state income tax return, allowing taxpayers to designate $1 in

general fund moneys to be donated to the political party of the taxpayer’s choice. I.C. §§ 34-

2502, 63-3088.

       In an Idaho primary election, voters receive a ballot when they enter the polling place

which includes ballots for all parties with contested primary elections. The voter may fill out

the ballot for any one party, but the ballot is invalid if choices for more than one party are

checked. See I.C. § 34-904. The Republican Party has attempted to convince the Idaho

Legislature to change Idaho’s system and adopt a closed primary in the last two legislative

sessions, without success. See, e.g., S1208, S1506, S1507aa, 59th Leg., 2nd Sess. (Id. 2008).

       Thanks, in part, to the support of independent voters, the Republican Party is the

dominant political party in Idaho, currently holding all statewide elected offices, all four

Congressional seats, and 79 of 105 legislative seats. Furthermore, the Republican primary,

surprisingly often, provides the only opportunity for voters to participate in a contested election.

In both 2006 and 2008, 11 legislative seats included a Republican primary with no general




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election opponent. If county elections and token opponents were included, the total would be

much higher. Affidavit of Gary G. Allen, pp.1-2, par. 2.

        Plaintiffs claim that Idaho’s system of non-partisan registration and open primaries

violates its freedom of association because “permitting non-Republicans” to vote in the

Republican Party primary “weakens, dilutes and obstructs” the process of selecting a candidate

“who most closely represents the views ideals and interests of members of the Republican

Party.” (Complaint, paragraphs 23 and 24.) Plaintiffs seek to compel the State of Idaho to

conform its primary elections to Section 4 of Article IX of a rule adopted by the Party’s State

Central Committee on June 2, 2007:

                 Only persons who have registered as a Republican prior to the Primary
                 Election will be allowed to vote on an Idaho Republican Party ballot in
                 that Primary Election.

        Plaintiffs, however, are unable to point to a single Republican candidate nominated in

an open primary who would not have been nominated had the primary been held in accordance

with the above rule. Nor can they point to a single candidate who diluted his or her message

because of the present system.5 Plaintiffs rest their case entirely on “common sense,”6 and one

1998 study that concludes that Members of Congress from states with closed primaries take

more extreme policy positions than those elected in states with open primaries.7

        In addition to lacking empirical support, the logic of the IRP’s “common sense” position

is entirely circular. First, there is the question of what is the measure of a candidate’s

adherence to the “views, ideals and interests” of the Republican Party. The IRP says it is the



5
  Deposition of Norman Semanko, State Chairperson of the Idaho Republican Party (hereinafter “Dep.”) , pp. 18-
20, 27-32, attached to the Affidavit of Gary G. Allen as Exhibit “A.”
6
  Dep. pp. 162-63.
7
  Elizabeth R. Gerber & Rebecca B. Morton, “Primary Election Systems and Representation,” Oxford University
Press, 1998, pp. 321-22.

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party platform.8 The platform is adopted at the IRP state convention. However, the delegates to

the convention are chosen by committee persons who are elected in the same open primary the

IRP challenges.9

         Second, Plaintiffs complain that non-Republicans are permitted to vote in its primaries.

However, it is impossible to determine whether persons who are not “registered” Republicans

vote in the Republican primary, since voter registration by party does not occur. Similarly, it is

impossible to determine whether persons who are not “members” of the Idaho Republican Party

vote in the Republican primary as the party has no membership list and cannot identify who its

members are.10

    In addition, the IRP would not apply a litmus test to choose candidates or to reject primary

winners who do not measure up. They agree that the outcome of a primary election is the best

means to determine who the best candidate is.11 Nor would they apply any litmus test in

determining who can register in the Republican Party.12 In the absence of a litmus test,

Republican registrants could easily include the very apocryphal Democrats whom the

Republicans fear would cross over and cause mischief, as well as independents who wish to

have a say as to the Republican nominee.13




8
  Dep. pp. 24-25.
9
  Dep. pp. 87-91.
10
   Dep. pp. 95-97.
11
   Dep. pp. 85, 109-10, 139-40.
12
   Dep. pp. 136-37.
13
   In states and counties where, as in Idaho, one party is dominant, persons often register into that party even if they
don't share its views. They do so in the hope it will help them obtain a government job or benefit, or at least not be
disadvantaged. They also do so because they realize that the primary election is the only competitive one. There
is evidence that when the political equation becomes more evenly balanced between the major parties, enrollment
figures become more reflective of voters’ actual beliefs and preferences. Lambert, Bruce, “G.O.P. Poised to Lose
Voter Lead in Nassau,” New York Times, September 14, 2008.

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           Nor does the IRP identify a minimum time period before the election by which someone

should be required to register into the party.14 When asked how this would be different than the

current system where a voter goes to the polls and asks to vote in the IRP primary, IRP

Chairman Semanko engaged in the following colloquy with Defendant-Intervenors’ counsel:

                                                      105
           20       Q. That's what I'm asking. What difference
           21    does it make whether a voter makes that choice at the
           22    point at which they vote or whether they make it a
           23    week or month before?
           24       A. It's not so much when they make it. It's
           25    what determination are they making? Are they showing

                                                      106
           1 up to vote in the primary and then perusing and
           2 deciding what to do? Or are they showing up as a
           3 registered Republican or to register as a Republican
           4 or a Democrat and then voting pursuant to that
           5 registration?
           6        It makes a big difference. Because the
           7 person who shows up and registers to be a Republican
           8 is the only one entitled to vote, pursuant to the
           9 rule and our right of association, in that Republican
           10 primary.
           11        The same thing for the Democrats if they
           12 choose to implement this. As with their caucus for
           13 president, then only those people are entitled to
           14 vote. And you don't allow folks who aren't
           15 affiliated or aren't willing to make that affiliation
           16 to step in and be part of that voting process for the
           17 candidate selection but then lends itself to a name
           18 borne on the ballot for the general election.15


           Plaintiffs assert that the Republican Party has an absolute right to have its rule enforced

even though there might be other means by which its objective of excluding voters whose views

are antithetical to those of the Party may be met. Therefore, Plaintiffs are unwilling to accept a

private alternative to the state-sponsored primary: the party does not seek and apparently would

14
     Dep. pp. 105-08.
15
     The full text of the deposition is annexed as Exhibit A to the Affidavit of Gary G. Allen submitted herewith.

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not accept a so-called “firehouse primary,” that is, a private primary operated and funded by the

Republican Party similar to the Idaho Democratic Party’s presidential caucus16, or a

requirement that voters sign a pledge that they do not harbor views that are antithetical to those

of the Republican Party before being permitted to vote in the primary.17 The IRP also rejects


16
  Dep. pp. 153-56, 176-77.
17
  The following colloquy occurred at the Semanko deposition:
                                         144
25 Q. Would the interest of the Republican Party

                                             145
 1 and its freedom of association be met if the State of
 2 Idaho said, we want to keep the open primary system,
 3 but we're going to implement a law that says before
 4 you can vote, pick that Republican ballot, you have
 5 to sign such a pledge? Would that violate -- would
 6 the freedom of association of the Republican Party
 7 still be violated?
 8      A. I think unless the rule that's been adopted
 9 is the one that is implemented, that our right of
10 association would be violated. What you're
11 describing is not, in my view, consistent with
12 section four of Article IX, the party rule.

                   *         *         *
4      Q. Would you agree that from the vantage point
 5 of the plaintiffs, the issue in the case is whether
 6 the State of Idaho or the Republican Party makes the
 7 decision as to who can participate in the Republican
 8 primary, putting aside the content of the particular
 9 rule. Isn't that really what you're saying?
10      A. The question is whether the state law is
11 unconstitutional. The primary election law is
12 unconstitutional in view of our party rule and our
13 right of association in setting forth the manner in
14 which we can select our candidate.
15        The issue isn't who is in charge, who gets
16 to pick the candidate. Because clearly Republicans
17 get to pick the candidate. The issue is whether the
18 Idaho Republican party primary election law violates
19 the constitutional right for the Republican Party to
20 choose their own candidate.

                 *        *        *

                                           150
1     Q. Isn't the premise of your position that it's
2 the Republican Party who should make that decision
3 regardless of the content of it, not the State of
4 Idaho?

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any other system inconsistent with its party rule, including, for example, a system where the

IRP would choose its candidates entirely outside the primary process and place independent

candidates on the ballot.

         In the eyes of the Idaho Republican Party, there is only one solution for what it

perceives to be an open primary that it claims severely burdens its associational rights: to force

Idaho’s voters, contrary to the will of the Idaho Legislature, to register their party affiliation in

the public record, at taxpayer expense, and to exclude from its primary those persons who were

unwilling to check the Republican box on the court-mandated registration form. Those

excluded would include the eleven individual Defendants-Intervenors as part of a group

including up to 28 percent of Idaho’s voters who consider themselves independents.



 5     A. Again, it's the members of the Idaho
 6 Republican Party, those that are registered as
 7 Republicans prior to the primary election that should
 8 make that decision. That's what that --
 9     Q. Not the decision as to who can vote, not the
10 decision as to who the candidate could be, the
11 decision as to how the Republican Party primary is
12 conducted.
13       Aren't you saying that the bottom line here
14 is that the Republican Party should decide who can
15 participate in the Republican primary, not the State
16 of Idaho? Isn't that really what --
17      A. No. The State Central Committee of the
18 Republican Party adopts the procedure by which we
19 select our candidates. That is manifest in a rule.
20      Q. Right.
21      A. If the exercise of that rule or right of
22 association is prohibited by a state statute, that
23 state statute is unconstitutional. That's the issue
24 here, is whether this statute, which prohibits us
25 from exercising our right of association and

                                             151
1   selecting our own candidate selection process, is
2   unconstitutional.
3          You can characterize it however you want.
4   It is a clear case of whether the right of
5   association of the Constitution is infringed upon by
6   a state statute. That's what is at issue in this
7   case.

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         The individual Defendants-Intervenors, as stated in their motion to intervene, are

persons who do not wish to affiliate with any political party and value their non-affiliation.

                                                  ARGUMENT

I.       To Prevail in this Case, the IRP Must Demonstrate that the Idaho Primary System
         Under all Sets of Facts Imposes a Severe Burden on its Associational Rights Not
         Justified by a Compelling State Interest.

     As a threshold matter, the IRP appears to have made a facial challenge to the Idaho primary

election law. The IRP is not challenging any particular application of the law, but rather argues

that the law is unconstitutional in any application because it conflicts with the IRP rules. To

prevail on such a challenge, the IRP must demonstrate that there is no set of facts under which

the law could be constitutionally applied. Wash. State Grange, 128 S.Ct. at 1190-91.

     Turning to the standards the Court will apply to make that determination, the U.S.

Constitution grants the states a “broad power to prescribe the ‘Times, Places and Manner of

holding Elections for Senators and Representatives,’ Art. I, Sec. 4, cl. 1, which power is

matched by state control over the election process for state offices.” Wash. State Grange, 128

S.Ct. at 1191. Idaho has granted a broad right of suffrage, and gives the Idaho legislature the

right to regulate it. Idaho Const. Art. VI Sec. 2 :

                  Every male or female citizen of the United States, eighteen years old,
                  who has resided in this state, and in the county where he or she offers to
                  vote for the period provided by law, if registered as provided by law, is a
                  qualified elector.18

         Under the current state of the law, the legislature has the authority to implement partisan

registration and to limit participation in the party primary to party enrollees. If Idaho adopted



18
  The Idaho Constitution grants the authority to regulate the right of suffrage to the Idaho legislature. Article VI,
Section 4 of the Idaho Constitution states as follows: “The legislature may prescribe qualifications, limitations,
and conditions for the right of suffrage, additional to those prescribed in this article, but shall never annul any of
the provisions in this article contained.”

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such a system, non-aligned voters would not have the right to participate in a party primary.

Nader v. Schiffer, 417 F. Supp. 837 (D. Conn. 1976), aff’d no op., 429 U.S. 989 (1976).

        However, the State is under no obligation to conduct a partisan primary. In Wash. State

Grange, supra, the Supreme Court rejected a facial challenge to a primary system where all

voters are allowed to participate and the top two candidates advance to the general election

regardless of party affiliation. Candidates are allowed to state their party preference on the

ballot in a way that does not imply party nomination or endorsement. In so holding, the

Supreme Court clearly implies that a fully non-partisan primary, without party labels, would not

infringe on political parties’ associational rights. That is, the inclusion of political parties in

primary elections is optional, not mandatory.

        Notwithstanding, there are circumstances where state regulation of partisan primaries

can go too far and infringe on a political party’s rights of association. In California v. Jones,

the Supreme Court invalidated California’s “blanket primary” in a partisan registration state. In

this system, registered voters could vote for whichever candidate they choose for each race,

without regard to party affiliation. The Supreme Court held that this system imposed a severe

burden on the associational rights of the political parties because it allowed voters registered

with another political party to participate in choosing a party’s nominee. California

Democratic Party v. Jones, 530 U.S. 567, 581-82 (2000). None of the interests advanced by the

State of California in support of its system were found sufficiently compelling to justify the

burden imposed on the parties. Id. at 583-86.19


        19
             In his dissent, joined in by Justice Ginsberg, Justice Stevens stated:

                    In my view, the First Amendment does not mandate that a putatively private association be
                    granted the power to dictate the organizational structure of state-run, state-financed primary
                    elections. It is not this Court's constitutional function to choose between the competing visions
                    of what makes democracy work-party autonomy and discipline versus progressive inclusion of

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          Jones included two critical considerations and one omission which deserve close

attention in this case. First, Jones was decided in a partisan registration state. As a result, it

was easy to determine that non-party members were participating in the party’s primary.

          Second, the Jones majority relied on empirical data demonstrating the extent of cross-

over voting by members of one party in the primary of another. For example, according to a

1997 survey of California voters relied on by the Supreme Court, 37 percent of Republicans

said that they planned to vote in the 1998 Democratic gubernatorial primary, and 20 percent of

Democrats said they planned to vote in the 1998 Republican United States Senate primary. Id.

at 578.

          Subsequent cases have rejected challenges to primary election systems because the

challengers had failed to produce evidence demonstrating harm from non-affiliated voter

participation in the primary. Wash. State Grange v. Wash. State Republican Party, 128 S.Ct.

1184, 1191 (2008), focused on the lack of harm to the plaintiffs’ associational rights in

upholding the Washington non-partisan system:

                  Of course, it is possible that voters will misinterpret the candidates'
                  party-preference designations as reflecting endorsement by the parties.
                  But these cases involve a facial challenge, and we cannot strike down I-
                  872 on its face based on the mere possibility of voter confusion. See
                  Yazoo, 226 U.S., at 219, 33 S.Ct. 40 (“[T]his court must deal with the
                  case in hand and not with imaginary ones”); Pullman Co. v. Knott, 235
                  U.S. 23, 26, 35 S.Ct. 2, 59 L.Ed. 105 (1914) (A statute “is not to be upset
                  upon hypothetical and unreal possibilities, if it would be good upon the
                  facts as they are”). Because respondents brought their suit as a facial
                  challenge, we have no evidentiary record against which to assess their
                  assertions that voters will be confused. See Timmons, 520 U.S., at 375-
                  376, 117 S.Ct. 1364 (STEVENS, J., dissenting) (rejecting judgments

                  the entire electorate in the process of selecting their public officials-that are held by the litigants
                  in this case. O'Callaghan v. State, 914 P.2d 1250, 1263 (Alaska 1996); see also Tashjian, 479
                  U.S., at 222-223, 107 S.Ct. 544; Luther v. Borden, 7 How. 1, 40-42, 12 L.Ed. 581 (1849). That
                  choice belongs to the people. U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 795, 115 S.Ct.
                  1842, 131 L.Ed.2d 881 (1995).”

          Jones, 530 U.S. at 599.

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               based on “imaginative theoretical sources of voter confusion” and
               “entirely hypothetical” outcomes). Indeed, because I-872 has never been
               implemented, we do not even have ballots indicating how party
               preference will be displayed. It stands to reason that whether voters will
               be confused by the party-preference designations will depend in
               significant part on the form of the ballot. The Court of Appeals assumed
               that the ballot would not place abbreviations like “ ‘D’ ” and “ ‘R,’ ” or
               “ ‘Dem.’ ” and “ ‘Rep.’ ” after the names of candidates, but would
               instead “clearly state that a particular candidate ‘prefers' a particular
               party.” 460 F.3d, at 1121, n. 20. It thought that even such a clear
               statement did too little to eliminate the risk of voter confusion.

Wash. State Grange, at 1194.

       In addition, In Democratic Party v. Barbour, 529 F.3d 538 (5th Cir. 2008), the Court of

Appeals overturned a Mississippi district court ruling that such a system unconditionally

infringed on the Party’s freedom of association. The Court noted:

               Even if the MSDP had enacted party policies in favor of a closed primary
               system, and thereby proved its standing to sue, a serious question of
               ripeness would remain. The party asserts that because it is required
               unconstitutionally to associate with non-Democrats who vote in its
               primary, its purely legal challenge to § 23-15-575 is neither premature
               nor hypothetical. A pre-enforcement challenge to the law is generally
               ripe “if any remaining questions are purely legal ones; conversely, a case
               is not ripe if further factual development is required.” Monk, 340 F.3d at
               282. The difficulty with this argument is the assumption that only legal
               issues remain in dispute between the parties. Mississippi's AG notes that
               MSDP has never attempted to challenge voters pursuant to the process
               outlined in the Cole Opinion. Exercising its rights by means of that
               process could have yielded data proving or disproving (a) the existence
               of party raiding; (b) the practicability of the process; and (c) whether the
               party's associational rights were actually infringed by a semi-closed
               primary. It is certainly conceivable, for instance, that the party's mere
               public announcement of its intent to challenge suspected non-Democrat
               voters would discourage raiding attempts. Further, the party admitted in
               discovery that it was unaware of any primary voters who did not support
               Democrat party principles or intend to support the party's nominees. In
               sum, while it might be true that § 23-15-575 permits party raiding, the
               existence and extent of such raiding are factual questions that cannot be
               assessed until MSDP has made some effort to enforce the existing law.
               Only after § 23-15-575 has been enforced can the novel legal issue of its
               effect on the MSDP's associational rights be compared with the blanket
               primary at issue in Jones.


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               “Further factual development, as well as an actual policy contrary to the
               statute, would enhance this case's fitness for judicial review. See Texas v.
               United States, 523 U.S. 296, 301, 118 S.Ct. 1257, 1260, 140 L.Ed.2d 406
               (1998) (“The operation of the statute is better grasped when viewed in
               light of a particular application.”). Likewise, “postponing consideration
               of the questions presented, until a more concrete controversy arises, also
               has the advantage of permitting the state courts with further opportunity
               to construe the statute.” Id.

Barbour, 429 F.3d at 547-48.

       Further, Jones included no discussion of alternatives available to the parties to avoid the

harm of which they complain. For example, in Miller v. Brown, 503 F.3d 360 (4th Cir. 2007),

the Court held that in a state-sponsored open primary, the Virginia Republican Party had a right

to enforce a party rule requiring voters to sign a document renouncing their affiliation with any

other party, indicating their agreement with Republican Party principles, and expressing their

intent to support Republican nominees. Jones provides no analysis of whether a loyalty pledge

of this kind, either implemented expressly under the law, or as a matter of party rule, would

sufficiently protect the party’s associational rights. Miller v. Brown further mentions the

possibility of a party operating a private “firehouse” primary, at the party’s own expense, as an

alternative to the state-run system.

       Moreover, Washington State Grange raises another issue regarding the measure of the

burden placed on political parties. Given that partisan ballot access and other special rights

granted to political parties are mere privileges that the State is not obligated to grant,

Defendant-Intervenors contend that the measure of those privileges should be considered in

weighing the extent of the burden placed on a political party by participating in an open primary.




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        Finally, Washington State Grange clarifies that if the statute imposes only modest

burdens on a political party’s associational rights, that the State need only demonstrate that such

burden is counterbalanced by important interests of the State. Id., at 1191-92.

        In sum, the IRP’s burden in this case is to demonstrate that, under any set of facts, the

law imposes a severe burden on the party’s associational rights that is not justified by a

compelling state interest. Important considerations in this analysis include: (1) the difference

between partisan registration and non-partisan registration; (2) the need to show harm; (3) the

necessity for the IRP to consider alternatives that the law may allow that would protect their

associational rights; and (4) a balancing of the privileges granted to a party against the burdens

that the system places upon it. If the system imposes only a modest burden on the IRP’s

associational rights, the State need only show that such burden is counterbalanced by important

state interests.

II.     The IRP has not Demonstrated that Idaho’s Open Primary is Unlawful.

        The sections below address the following issues: (A) The severity of the burden on the

IRP’s associational rights; and (B) The importance of the State’s interests in the absence of a

severe burden. These issues are discussed in turn in the sections below.

        A.         The IRP has not demonstrated a severe burden on its associational rights.

        Applying the tests outlined above, the IRP has not demonstrated a severe burden on its

associational rights. The first consideration is the important difference between a partisan

registration state addressed in Jones and a non-partisan registration state such as Idaho. In

Jones, it was possible, if not easy, to tell whether cross-over voting was occurring because

voters were required to register by party. In Idaho, it is essentially a meaningless question.

One cannot tell whether people who are not registered as Republicans are voting in the



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Republican primary because there is no party registration. One cannot tell if persons who are

not members of the IRP are voting in the Republican primary because there is no membership

list. The IRP therefore has a fundamental problem in asserting that its associational rights are

violated, particularly in a facial challenge, because the party has no idea who the people are

who comprise the association with which outsiders allegedly are interfering, or, for that matter,

who the outsiders are. In essence, the IRP is asking the court to implement partisan registration

so that the IRP can determine if there is a problem. However, the IRP has to come to court with

proof; it cannot ask the court to create it for the party.

           Put another way, it is not clear what, if any, burden is imposed on the IRP. The absence

of something the IRP wants – a closed primary and partisan registration – cannot be found to

impose a burden on them. At his deposition, Chairperson Semanko took the position not that a

discernable burden had to be alleviated, but that the State of Idaho had to conform to the IRP’s

rule. This is particularly ironic since a majority of delegates to the IRP’s 2008 convention

voted in favor of continuing the current system.20

           A related problem for the IRP is the lack of harm. Chairperson Semanko was quite

candid in his deposition that the IRP had no evidence that participation of non-affiliated voters

had ever affected the outcome of an IRP primary, or had caused any candidate or nominee of

the party ever to stray from the values, ideals or beliefs of the IRP. The sole burden identified

by the IRP is that the primary system does not comport with the party’s rule. We respectfully

submit that the IRP bears a higher burden to prevail in this case.

           The third consideration is the need for the IRP to consider alternatives. This

requirement seems especially plain in a facial challenge. We cannot see how the IRP can

demonstrate a facial infirmity when it refuses to consider interpretations of the Idaho election
20
     Dep., pp. 66-67.

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statutes that would mitigate the burdens on the party. There are several options that Defendant-

Intervenors submit the IRP is obligated to consider. First, the IRP points to the Idaho

Democratic Party’s (“IDP”) presidential caucus (the “Caucus”)21 as an example of how

exclusion of non-affiliated voters could occur. The Caucus is the equivalent of a “firehouse

primary,” a privately funded primary. Given that the Caucus proceeds each four years in Idaho,

there would seem to be a reasonable likelihood that this option comports with Idaho election

laws. However, the IRP refuses to consider this option or apparently even to discuss it with the

Secretary of State, stating that only implementation of partisan registration complies with the

party’s rule. Second, the IRP should consider the possibility of a loyalty pledge as was upheld

in Miller v. Brown. The IRP refuses again, citing its party rule. Finally, the IRP could opt out

of the partisan primary system entirely and place independent candidates on the ballot,

promoting its candidates and party brand however it chose. This is also not an option in the

IRP’s eyes, even though it would impose no burden on the party’s associational rights.

Defendants-Intervenors submit that the IRP’s claims are not ripe unless they can show that all

permissible options under Idaho law place undue burdens on the IRP’s associational rights.

Barbour, 429 F.3d at 547-48.

        The final consideration is to balance the privileges the State has granted to the IRP with

the burdens of which the IRP complains. The IRP has taken advantage of the State’s offer to

become a qualified political party, and has organized itself accordingly. The benefits are

significant: (1) the party receives automatic ballot access as long as it meets de minimis criteria;

(2) the State provides a taxpayer funded primary election; (3) the party’s label is placed

adjacent to the candidate’s name on the general election ballot – the potent “R” designation


21
 On February 5, 2008, the Caucus was held at sites in each county designated by the IDP wholly at IDP expenses.
Over 20,000 people participated state-wide. Idaho Statesman, Feb. 6, 2008, “It’s All Obama at Valley Caucuses.”

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that is the envy of other political parties in Idaho; (4) party committees have the right to

nominate successors to the governor if an officeholder leaves office before his/her term is up;

and (5) the State provides a check box on Idaho state income tax forms where a taxpayer can

donate $1 to the party each year. The IRP no doubt values these privileges and wishes to

maintain them. The State is not obligated to provide any of these privileges and could eliminate

them all without violating the IRP’s associational rights.

         These privileges are offset only by a fear held by some in the IRP that non-affiliated

voters -- whatever that means with no registration or membership list -- are helping to choose

the IRP’s candidates. As discussed, however, the IRP has offered no evidence any of this is

occurring. Further, there is no evidence that the remedy the party seeks to implement - partisan

registration presumably changeable at any time - would solve the problem. If all that is

required to vote in the IRP primary is to register Republican, nothing stops the apocryphal

Democrats who would cross over or the unwelcome independents from signing the registration

roll. Indeed, the only difference between this system and the current system is a public

declaration of party affiliation, even though it might only last for one day. The IRP has not

produced a shred of evidence that changing to partisan registration would better protect the

party’s values, beliefs and interests than the current system where voters can determine if they

want to support IRP candidates when they enter the voting booth.22




22
   In addition, the IRP’s request to impose partisan registration places the Court on a dangerous slippery slope. If
the IRP can force the State to impose partisan registration simply by adopting a party rule, what prevents a political
party from adopting other tests that the State has to implement on their behalf? Could it compel the State to
require that a voter say the Pledge of Allegiance, give a secret handshake or to whistle “Dixie” prior to being
allowed to vote.

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          B.     If the Idaho primary system imposes only a modest burden, it must be
                 upheld if it serves important state regulatory interests.

          If the system is found to impose only a modest burden, it must be upheld if it serves

important state regulatory interests. Washington State Grange, at 1191-92. In Jones, the Court

recognized the following interests as important: promoting fairness; affording voters greater

choice; increasing voter participation; and protecting privacy. All four are operative in the case

at bar.

          Moreover, the State serves an additional interest in this case due to the strong presence

of independent voters in the Idaho electorate. 28 percent of the Idaho electorate would be

excluded from participation in what is often the only contested election if the IRP prevails in

this case. The consideration of this interest weighs heavily in favor of independents. The

burden on the IRP is slight. It cannot even demonstrate that Democrats or independents have

voted in its primary, much less that they are impacting on the outcome or the message of the

candidates. In contrast, the burden of a ruling in favor of the IRP on Defendants-Intervenors

and other non-aligned voters would be severe. They would be deprived of the right to vote in

the primary where, often, the actual decision as to who will hold public office is made.

Defendants-Intervenors submit that this impact is severe enough to constitute a compelling

interest for the State in the event it were necessary to demonstrate one.

          Indeed, Defendants-Intervenors submit that their right to participate in the electoral

process and the burden imposed on them must receive independent consideration in the

balancing of the respective rights and burdens of the parties. In Bush v. Gore, 531 U.S. 98, 104

(2000), the Supreme Court implies the existence of a fundamental right to vote that the Court

must include in the calculus when weighing the Idaho system’s impact on the IRP’s

associational rights:


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                History has now favored the voter, and in each of the several States the
                citizens themselves vote for Presidential electors. When the state
                legislature vests the right to vote for President in its people, the right to
                vote as the legislature has prescribed is fundamental; and one source of
                its fundamental nature lies in the equal weight accorded to each vote and
                the equal dignity owed to each voter.

This is in accord with earlier statements by the Supreme Court on the subject:

                No right is more precious in a free country than that of having a voice in
                the election of those who make the laws under which, as good citizens,
                we must live. Other rights, even the most basic, are illusory if the right
                to vote is undermined.’ Wesberry v. Sanders, 376 U.S. 1, 17, 84 S.Ct.
                526, 535, 11 L.Ed.2d 481 (1964). Wesberry involved a federal election.
                Article I, s 2, of the Federal Constitution declares that Members of the
                House should be ‘chosen every second Year by the People of the several
                States'; and the Seventeenth Amendment says that Senators shall be
                ‘elected by the people.’ But the right to vote in state elections is one of
                the rights historically ‘retained by the people’ by virtue of the Ninth
                Amendment as well as included in the penumbra of First Amendment
                rights. As Mr. Justice Brennan stated in Storer v. Brown, 415 U.S. 724,
                at 756, 94 S.Ct. 1274, at 1291, 39 L.Ed.2d 714, ‘The right to vote
                derives from the right of association that is at the core of the First
                Amendment, protected from state infringement by the Fourteenth
                Amendment.’ (Dissenting opinion.)

Lubin v. Panish, 415 U.S. 709, 722 (1974).

        Here, the legislature of the State of Idaho, informed by the broad grant of suffrage

contained in its constitution, has guaranteed its citizens the right to full participation in the

electoral system without having to affiliate with a political party. That right is fundamental,

and must not be cast aside by the desire of a faction of the Republican Party for a primary

system more suited to its perceived needs.




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                                       CONCLUSION

       For all of the above reasons, and those set forth in the moving papers, Defendants-

Intervenors’ motion for summary judgment dismissing this action should be granted.

       DATED this 24th day of October, 2008.


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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 24th day of October, 2008, I submitted this foregoing
to the Clerk of the Court for service on CM/ECF Registered Participants as reflected on the
Notice of Electronic Filing, including, but not limited to, the following:


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                                                  /s/ Gary G. Allen
                                                  Gary G. Allen




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